                                                                     1    John D. Fiero (CA Bar No. 136557)
                                                                          PACHULSKI STANG ZIEHL & JONES LLP
                                                                     2    150 California Street, 15th Floor
                                                                          San Francisco, California 94111-4500
                                                                     3    Telephone: 415.263.7000
                                                                          Facsimile: 415.263.7010
                                                                     4    E-mail: jfiero@pszjlaw.com

                                                                     5    Attorneys for Equity Owners
                                                                          Ross Sullivan and Kelleen Sullivan
                                                                     6

                                                                     7                            UNITED STATES BANKRUPTCY COURT
                                                                                                  NORTHERN DISTRICT OF CALIFORNIA
                                                                     8                                  SANTA ROSA DIVISION
                                                                     9   In re                                               Case No.: 17-10065-RLE
                                                                    10                                                       (Jointly Administered)
                                                                          SVC,
                                                                    11                                                       Chapter 11
P ACHULSKI S TANG Z IEHL & J ONES LLP




                                                                                                      Debtor.
                                                                    12                                                        CERTIFICATE OF SERVICE
                                        SAN FRANCISCO, CALIFORNIA




                                                                    13
                                            ATTORNEYS AT LAW




                                                                                                                             CONFIRMATION HEARING
                                                                    14                                                       Date:  February 26, 2020
                                                                                                                             Time:  10:00 a.m.
                                                                    15                                                       Place: 1300 Clay Street, Room 201
                                                                                                                                    Oakland, CA 94612
                                                                    16                                                       Judge: The Hon. Roger L. Efremsky

                                                                    17

                                                                    18

                                                                    19

                                                                    20

                                                                    21

                                                                    22

                                                                    23

                                                                    24

                                                                    25

                                                                    26

                                                                    27

                                                                    28


                                                                     Case: 17-10065 82168/001
                                                                        DOCS_SF:102445.1 Doc# 504    Filed: 12/20/19   Entered: 12/20/19 14:08:52     Page 1 of 6
                                                                     1    STATE OF CALIFORNIA                   )
                                                                                                                )
                                                                     2    CITY OF SAN FRANCISCO                 )

                                                                     3           I, Oliver Carpio, am employed in the city and county of San Francisco, State of California.
                                                                         I am over the age of 18 and not a party to the within action; my business address is 150 California
                                                                     4   Street, 15th Floor, San Francisco, California 94111-4500.

                                                                     5            On December 20, 2019, I caused to be served the following documents in the manner stated
                                                                         below:
                                                                     6
                                                                                 COMBINED PLAN AND DISCLOSURE STATEMENT PROPOSED BY SULLIVAN
                                                                     7            FAMILY (DECEMBER 20, 2019)
                                                                     8           NOTICE OF (1) PLAN CONFIRMATION HEARING, AND (2) BALLOTING AND
                                                                                  OBJECTION DEADLINES RELATED CONFIRMATION OF THE COMBINED
                                                                     9
                                                                                  PLAN AND DISCLOSURE STATEMENT PROPOSED BY SULLIVAN FAMILY
                                                                    10            (DECEMBER 20, 2019)

                                                                    11           BALLOT
P ACHULSKI S TANG Z IEHL & J ONES LLP




                                                                    12
                                                                                        TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING
                                        SAN FRANCISCO, CALIFORNIA




                                                                    13                  (NEF): Pursuant to controlling General Orders and LBR, the foregoing document
                                            ATTORNEYS AT LAW




                                                                                        was served by the court via NEF and hyperlink to the document. On
                                                                    14                 December 20, 2019, I checked the CM/ECF docket for this bankruptcy case or
                                                                                        adversary proceeding and determined that the following persons are on the
                                                                    15                  Electronic Mail Notice List to receive NEF transmission at the email addresses
                                                                                        stated below
                                                                    16
                                                                                        (BY MAIL) I am readily familiar with the firm's practice of collection and
                                                                    17                  processing correspondence for mailing. Under that practice it would be deposited
                                                                                        with the U.S. Postal Service on that same day with postage thereon fully prepaid
                                                                    18                 at San Francisco, California, in the ordinary course of business. I am aware that
                                                                                        on motion of the party served, service is presumed invalid if postal cancellation
                                                                    19                  date or postage meter date is more than one day after date of deposit for mailing
                                                                                        in affidavit.
                                                                    20

                                                                    21
                                                                                       (BY EMAIL) I caused to be served the above-described document by email to
                                                                                        the parties indicated on the attached service list at the indicated email address.

                                                                    22           I declare under penalty of perjury, under the laws of the State of California and the United
                                                                         States of America that the foregoing is true and correct.
                                                                    23
                                                                                 Executed on December 20, 2019 at San Francisco, California.
                                                                    24

                                                                    25                                                                    /s/ Oliver Carpio
                                                                                                                                           Legal Assistant
                                                                    26

                                                                    27

                                                                    28

                                                                                                                            2
                                                                     Case: 17-10065 82168/001
                                                                        DOCS_SF:102445.1 Doc# 504      Filed: 12/20/19     Entered: 12/20/19 14:08:52         Page 2 of 6
                                                                     1   1. SERVED VIA ECF/NEF
                                                                     2          Jonathan M. Cohen jcohen@josephandcohen.com, donna@josephandcohen.com
                                                                                Jay D. Crom jcrom@bachcrom.com
                                                                     3          Jacob M. Faircloth jacob.faircloth@smolsonlaw.com
                                                                                Michael C. Fallon mcfallon@fallonlaw.net, manders@fallonlaw.net
                                                                     4
                                                                                Reno F.R. Fernandez 2382885420@filings.docketbird.com, ecf@macfern.com
                                                                                John D. Fiero jfiero@pszjlaw.com, ocarpio@pszjlaw.com
                                                                     5
                                                                                Geoffrey A. Heaton gheaton@duanemorris.com, dmicros@duanemorris.com
                                                                                Timothy W. Hoffman twh1761@yahoo.com, ca73@ecfcbis.com
                                                                     6
                                                                                Chris D. Kuhner c.kuhner@kornfieldlaw.com, g.michael@kornfieldlaw.com
                                                                     7          Timothy S. Laffredi timothy.s.laffredi@usdoj.gov, patti.vargas@usdoj.gov
                                                                                Charles P. Maher cmaher@rinconlawllp.com, aworthing@rinconlawllp.com
                                                                     8          Austin P. Nagel melissa@apnagellaw.com
                                                                                Office of the U.S. Trustee / SR USTPRegion17.SF.ECF@usdoj.gov
                                                                     9          Aron M. Oliner roliner@duanemorris.com, dmicros@duanemorris.com
                                                                                Steven M. Olson smo@smolsonlaw.com
                                                                    10          Gregory S. Powell greg.powell@usdoj.gov, Tina.L.Spyksma@usdoj.gov
                                                                                Matthew J. Shier mshier@shierkatz.com, mterry@shierkatz.com
                                                                    11          Peter L.D. Simon psimon@beyerscostin.com, shernandez@beyerscostin.com
                                                                                Philip S. Warden philip.warden@pillsburylaw.com, kathy.stout@pillsburylaw.com
P ACHULSKI S TANG Z IEHL & J ONES LLP




                                                                    12          Andrea A. Wirum trustee@wirum.com, CA22@ecfcbis.com
                                                                                Andrea A. Wirum trustee@wirum.com, CA22@ecfcbis.com
                                        SAN FRANCISCO, CALIFORNIA




                                                                    13
                                            ATTORNEYS AT LAW




                                                                         2. SERVED VIA US MAIL
                                                                    14
                                                                          U.S. Securities Exchange             ADP Retirement Services             AFIS Benefits & Insurance Services
                                                                    15    Commission                           3700 Business Drive                 5858 Horton Street
                                                                          Attn: Bankruptcy Counsel             Sacramento, CA 95820-2140           Suite 350
                                                                    16    444 South Flower Street, Suite 900                                       Emeryville, CA 94608-2025
                                                                          Los Angeles, ca 90071-9591
                                                                    17    AT and T Mobility                    AT&T Mobility II LLC                Alhambra & Sierra Springs
                                                                          PO Box 6463                          AT&T Services Inc,                  PO Box 660579
                                                                    18    Carol Stream, IL 60197-6463          Karen A. Cavagnaro Lead Paralegal   Dallas, TX 75266-0579
                                                                                                               One AT&T Way, Suite 3A104
                                                                    19                                         Bedminster, NJ, 07921-2693
                                                                          Andrea Cow                           Andrea Crow                         Angelica De Vere
                                                                    20    7 Scott Place                        c/o Matthew J. Shier                c/o Philip J. Terry, Esq.
                                                                          Greenbrae, CA 94904-3026             shierkatz RLLP                      100 B street, Suite 400
                                                                    21                                         930 Montgomery Street, Suite 600    Santa Rosa, CA 95401-6376
                                                                                                               San Francisco, CA 94133-4601
                                                                    22    Angelica de Vere                     Anthem Blue Cross                   Anthem Blue Cross
                                                                          c/o Valerie Bantner Peo, Esq.        PO Box 54630                        PO Box 9051
                                                                    23    Buchalter, a Professional            Los Angeles, CA 90054-0630          Oxnard, CA 93031-9051
                                                                          Corporation
                                                                    24    55 Second Street, 17th Floor
                                                                          San Francisco, CA 94105-3493
                                                                    25    Autumn Cruzan                        Beyers Costin Simon, PC             Biagi Brothers, Inc.
                                                                          PO Box 2702                          200 Fourth Street, Suite 400        787 Airpark Road
                                                                    26    Yountville, CA 94599-2702            Santa Rosa, CA 95401-8535           Napa, CA 94558-7515
                                                                          Bill Tucker Studios                  Bittner & Company, LLC              Bittner & Company, LLC
                                                                    27    23 E. 4th Street                     PO Box 168                          115 Dahlia Street
                                                                          Hinsdale, IL 60521-4402              American Canyon, CA 94503           Saint Helena, CA 94574-2116
                                                                    28


                                                                     Case: 17-10065 82168/001
                                                                        DOCS_SF:102445.1 Doc# 504         Filed: 12/20/19      Entered:
                                                                                                                                3       12/20/19 14:08:52        Page 3 of 6
                                                                     1    Bob & Duffs Pest Control            Bodega Shipping Co.                     CA Employment Development Dept.
                                                                          1370 Trancas Street, Suite 139      659 Main Street                         Bankruptcy Group MIC 921
                                                                     2    Napa, CA 94558-2912                 Saint Helena, CA 94574-2004             P.O. Box 826880
                                                                                                                                                      Sacramento, CA 94280-0001
                                                                     3    CA Franchise Tax Board              Caireen Sullivan                        California Dept. of Food and
                                                                          Bankruptcy Group                    1983 Ocean Avenue                       Agriculture.
                                                                     4    P.O. Box 2952                       Santa Cruz, CA 95060                    1220 N Street
                                                                          Sacramento, CA 95812-2952                                                   Sacramento, CA 95814-5603
                                                                     5    Castellucci Napa Valley             CoPower                                 Jonathan M. Cohen
                                                                          PO Box 106                          Dept. 34604                             Joseph and Cohen, P.C.
                                                                     6    Rutherford, CA 94573-0106           P.O. Box 39000                          1855 Market Street
                                                                                                              San Francisco, CA 94139-0001            San Francisco, CA 94103-1112
                                                                     7    Jay D. Crom                         Andrea Crow                             Crystal of America
                                                                          Bachecki, Crom & Company, LLP       c/o Matthew J. Shier                    PO Box 27523
                                                                     8    400 Oyster Point Blvd. Suite 106    shierkatz RLLP                          New York, NY 10087-2752
                                                                          South San Francisco, CA 94080-      930 Montgomery Street, 6th Floor
                                                                     9    1917                                San Francisco, CA 94133-4624
                                                                          Angelica De Vere                    Terri B. Didion                         Cecily Ann Dumas
                                                                    10    c/o Valerie Bantner Peo             Office of the U.S. Trustee - San Jose   Baker and Hostetler LLP
                                                                          55 Second St., 17th Fl.             United States Courthouse                1160 Battery St. 1100
                                                                    11    San Francisco, CA 94105-3493        2500 Tulare St. 11401                   San Francisco, CA 94111-1233
P ACHULSKI S TANG Z IEHL & J ONES LLP




                                                                                                              Fresno, CA 93721-1326
                                                                    12    ETS Laboratories                    Elizabeth Matulich                      Elizabeth Matulich
                                                                          899 Adams Street                    c/o Philip J, Terry, Esq.               c/o Valerie Bantner Peo
                                        SAN FRANCISCO, CALIFORNIA




                                                                    13    Suite A                             100 B Street, Suite 400                 Buchalter, A Professional
                                            ATTORNEYS AT LAW




                                                                          Saint Helena, CA 94574-1160         Santa Rosa, CA 95401-6376               Corporation
                                                                    14                                                                                55 2nd St., 17th Fl.
                                                                                                                                                      San Francisco, CA 94105-3493
                                                                    15    Employment Development Dept.        Enartis Vinquiry                        First Insurance Funding Corp.
                                                                          PO Box 826880                       7795 Bell Road                          P.O. Box 7000
                                                                    16    Sacramento, CA 94280-0001           Windsor, CA 95492-8519                  Carol stream, IL 60197-7000
                                                                          Franchise Tax Board                 Fair Harbor Capital as Assignee of      Fair Harbor Capital, LLC
                                                                    17    Bankruptcy Section MS A340          Penning Landscapes, Inc.                Ansonia Finance Station
                                                                          PO Box 2952                         PO Box 237037                           PO Box 237037
                                                                    18    Sacramento CA 95812-2952            New York, NY 10023-0028                 New York, NY 10023-0028
                                                                          Jacob M. Faircloth                  Michael C. Fallon                       Reno F.R. Fernandez
                                                                    19    Law Office of Steven M. Olson       Law Offices of Michael C. Fallon        Macdonald Fernandez LLP
                                                                          100 B St., #104                     100 E St., #219                         221 Sansome St. 3rd Fl.
                                                                    20    Santa Rosa, CA 95404-4605           Santa Rosa, CA 95404-4606               San Francisco, CA 94104-2331
                                                                          Stephen A Finn                      Ford Credit                             Ford Motor Credit Company
                                                                    21    Pillsbury Winthrop Shaw Pittman,    PO Box 552679                           c/o Law Offices of Austin P. Nagel
                                                                          LLP                                 Detroit, MI 48255-2679                  111 Deerwood Road, Ste.305
                                                                    22    Four Embarcadero ctr, 22nd Fl.                                              San Ramon, CA 94583-1530
                                                                          San Francisco, CA 94111-5998
                                                                    23    Ford Motor Credit Company           Paul Garvey                             Garvey Brothers Vineyard
                                                                          Po Box 62180                        dba Garvey Brothers Vineyard            Management Cm11pany
                                                                    24    Colorado Springs CO 80962-2180      Management Company                      Attn: Paul Garvey c/o Macdonald
                                                                                                              c/o Macdonald Fernandez LLP             Fernandez LLP
                                                                    25                                        221 Sansome Street, Third Floor         221 Sansome Street, Third Floor
                                                                                                              San Francisco, CA 94104-2323            San Francisco, CA 94104-2323
                                                                    26    Ghirardo CPA                        Goode Company                           Sonyia Grabski
                                                                          7200 Redwood Blvd.                  655 Park Court                          c/o Valerie Bantner Pee
                                                                    27    Suite 403                           Rohnert Park, CA 94928-7940             55 Second St., 17th Fl.
                                                                          Novato, CA 94945-3249                                                       San Francisco, CA 94105-3493
                                                                    28


                                                                     Case: 17-10065 82168/001
                                                                        DOCS_SF:102445.1 Doc# 504          Filed: 12/20/19      Entered:
                                                                                                                                 4       12/20/19 14:08:52           Page 4 of 6
                                                                     1    Hartford Group Benefits             Geoffrey A. Beaton                      Timothy W. Hoffman
                                                                          P.O. Box 783690                     Duane Morris LLP                        P.O. Box 1761
                                                                     2    Philadelphia, PA 19178-3690         1 Market, Spear Tower 12200             Sebastopol, CA 95473-1761
                                                                                                              San Francisco, CA 94105-1127
                                                                     3    IRS                                 Internal Revenue Service                Kokjer, Pierotti, Maiocco, Duck LLP
                                                                          P.O. Box 7346                       P.O. Box 7346                           351 California Street, Suite 300
                                                                     4    Philadelphia, PA 19101-7346         Philadelphia, PA 19101-7346             San Francisco, CA 94104-2422
                                                                          Chris D. Kuhner                     Law Office of Steven M. Olson           Matheson Tri-Gas, Inc.
                                                                     5    Kornfield Nyberg Bendas Kuhner      100 E Street, Suite 104                 Dept. LA 23793
                                                                          & Little                            Santa Rosa, CA 95404-4605               Pasadena, CA 91185-3793
                                                                     6    1970 Broadway 1600
                                                                          Oakland, CA 94612-2218
                                                                     7    Elizabeth Matulich                  Moschetti Espresso                      Austin P. Nagel
                                                                          c/o Valerie Bantner Peo             11 Sixth Street                         Law Offices of Austin P. Nagel
                                                                     8    55 Second St., 17th Fl.             Vallejo, CA 94590-6913                  111 Deerwood Rd. 1305
                                                                          San Francisco, CA 94105-3493                                                San Ramon, CA 94583-1530
                                                                     9    Napa Printing Design Studio &       Napa Valley Designs                     Napa Valley Vintners Assn.
                                                                          Mail ctr.                           P.O. Box 396                            PO Box 141
                                                                    10    630 D Airpark Rd                    Rutherford, CA 94573-0396               Saint Helena, CA 94574-0141
                                                                          Napa, CA 94558-7528
                                                                    11    Occidental Technical Group LLC      Office of the U.S. Trustee/SR           Aron M. Oliner
P ACHULSKI S TANG Z IEHL & J ONES LLP




                                                                          PO Box 665                          Office of the United States Trustee     Law Offices of Duane Morris
                                                                    12    Saint Helena, CA 94574-0665         Phillip J. Burton Federal Building      1 Market Spear Tower 12200
                                        SAN FRANCISCO, CALIFORNIA




                                                                                                              450 Golden Gate Ave. 5th Fl., #05-      San Francisco, CA 94105-3104
                                                                    13
                                            ATTORNEYS AT LAW




                                                                                                              0153
                                                                                                              San Francisco, CA 94102-3661
                                                                    14    Steven M. Olson                     Pacific Gas & Electric Company          PG&E
                                                                          Law Offices of Steven M. Olson      PO Box 8329                             5507160621-8
                                                                    15    100 E St. #104                      Stockton CA 95208-0329                  Box 997300
                                                                          Santa Rosa, CA 95404-4605                                                   Sacramento, CA 95899-7300
                                                                    16    PG&E                                Penning Landscapes, Inc.                Penning Landscapes, Inc.
                                                                          5548827285-1                        68 Coombs Street, #D11                  c/o Fair Harbor Capital, LLC
                                                                    17    Box 997300                          Napa, CA 94559-3979                     PO Box 237037
                                                                          Sacramento, CA 95899-7300                                                   New York, NY 10023-0028
                                                                    18    Philomena Gildea                    Printing Services - Napa Valley         Ramondin USA, Inc.
                                                                          22 Church Street                    574 Gateway Drive                       791 Technology Way
                                                                    19    Weston, MA 02493-2004               Napa, CA 94558-7517                     Napa, CA 94558-7505
                                                                          Republic Indemnity                  Rutherford River Ranch                  SVC
                                                                    20    PO Box 7878                         2352 Pine Street                        P.O. Box G
                                                                          San Francisco, CA 94120-7878        San Francisco, CA 94115-2715            1090 Galleron Road
                                                                    21                                                                                Rutherford, CA 94573-0907
                                                                          Trinity Scott                       Scott laboratories                      Sean Sullivan
                                                                    22    c/o Valerie Bantner Peo             PO Box 398198                           P.O. Box 5543
                                                                          55 Second St., 17th Fl.             San Francisco, CA 94139-8198            Napa, CA 94581-0543
                                                                    23    San Francisco, CA 94105-3493
                                                                          Matthew J, Shier                    Peter Simon                             Peter L.D. Simon
                                                                    24    shierkatz RLLP                      Beyers Costin                           Law Offices of Beyers Costin
                                                                          930 Montgomery st. 6th Fl.          200 4th St l400                         200 Fourth St. 1400
                                                                    25    San Francisco, CA 94133-4624        PO Box 8                                Santa Rosa, CA 95401-8535
                                                                                                              Santa Rosa, CA 95402-0008
                                                                    26    Sonyia Grabski                      Sonyia Grabski                          St. Helena Self Storage
                                                                          c/o Philip J, Terry, Esq.           c/o Valerie Bantner Peo, Esq.           950 Vintage Avenue
                                                                    27    100 B Street, Suite 400             Buchalter, A Professional Corporation   Saint Helena, CA 94574-1406
                                                                          Santa Rosa, CA 95401-6376           55 Second street, 17th Floor
                                                                    28                                        San Francisco, CA 94105-3493



                                                                     Case: 17-10065 82168/001
                                                                        DOCS_SF:102445.1 Doc# 504          Filed: 12/20/19     Entered:
                                                                                                                                5       12/20/19 14:08:52            Page 5 of 6
                                                                     1    Stanley Convergent Sec. Sol.         California State Board Of Equalization   State Water Boards
                                                                          Dept. CH 10651                       Account Reference Group Mic 29           PO Box 1888
                                                                     2    Palatine, IL 60055-0001              Po Box 942879                            Sacramento, CA 95812-1888
                                                                                                               Sacramento CA 94279-0029
                                                                     3    Stephen A. Finn                      Teresa Sullivan                          Sullivan Vineyards Partners
                                                                          c/o Pillsbury Winthrop Shaw          c/o Valerie Bantner Peo                  P.O. Box G
                                                                     4    Pittman LLP                          55 Second St., 17th Fl.                  1090 Galleron Road
                                                                          Four Embarcadero ctr. 22nd Fl.       San Francisco, CA 94105-3493             Rutherford, CA 94573-0907
                                                                     5    San Francisco, CA 94111-5998
                                                                          Sullivan Vineyards Partnership       Sunshine Foods Partners                  Telepacific Communications
                                                                     6    Law Offices Michael C. Fallon        1115 Main Street                         PO Box 509013
                                                                          100 E Street, Ste. 219               Saint Helena, CA 94574-2090              San Diego, CA 92150-9013
                                                                     7    Santa Rosa, CA 95404-4606
                                                                          Teresa Sullivan                      Teresa Sullivan                          Thomas R. Barnett LLC
                                                                     8    c/o Philip J, Terry, Esq.            c/o Valerie Bantner Peo, Esq.            965 Marina Drive
                                                                          100 B street, Suite 400              Buchalter, A Professional Corporation    Napa, CA 94559-4744
                                                                     9    Santa Rosa, CA 95401-6376            55 Second Street, 17th Fl.
                                                                                                               San Francisco, CA 94105-3493
                                                                    10    Toyota Material Handling             Trinity Scott                            Trinity Scott
                                                                          PO Box 398526                        c/o Philip J, Terry, Esq.                c/o Valerie Bantner Peo
                                                                    11    San Francisco, CA 94139-8526         100 B Street, Suite 400                  Buchalter, A Professional
P ACHULSKI S TANG Z IEHL & J ONES LLP




                                                                                                               Santa Rosa, CA 95401-6376                Corporation
                                                                    12                                                                                  55 2nd St., 17th Fl.
                                        SAN FRANCISCO, CALIFORNIA




                                                                                                                                                        San Francisco, CA 94105-3493
                                                                    13
                                            ATTORNEYS AT LAW




                                                                          Trove Professional Services, LLC     U.S. Attorney                            UBF Consulting, Inc.
                                                                          2081 Center St.                      Civil Division                           2033 North Main St., Ste. 700
                                                                    14    Berkeley, CA 94704-1204              450 Golden Gate Ave.                     Walnut Creek, CA 94596-3713
                                                                                                               San Francisco, CA 94102-3661
                                                                    15    Uline                                Upper Valley Disposal                    VSP
                                                                          Attn.: Accounts Receivable           PO Box 382                               7400 Gaylord Parkway
                                                                    16    P.O. Box 88741                       Saint Helena, CA 94574-0382              Frisco, TX 75034-9463
                                                                          Chicago, IL 60680-1741
                                                                    17    Valley Internet                      Verizon Wireless                         Vicard Generation 7
                                                                          4160 Suisun Valley Road E-712        P.O. Box 660108                          1370 Trancas St. I 141
                                                                    18    Fairfield, CA 94534-4016             Dallas, TX 75266-0108                    Napa, CA 94558-2912
                                                                          Vin65-WineDirect                     Vision Service Plan                      Vite USA, Inc.
                                                                    19    1190 Ai1:port Blvd., Ste. 101        P.O. Box 45210                           c/o Chris D. Kuhner
                                                                          Napa, CA 94558-7573                  San Francisco, CA 94145-5210             Kornfield Nyberg Bendas Kuhner &
                                                                    20                                                                                  Little
                                                                                                                                                        1970 Broadway, Suite 600
                                                                    21                                                                                  Oakland, CA 94612-2218
                                                                          Philip S. Warden                     Winery Rehabilitation, LLC               Winery Rehabilitation, LLC
                                                                    22    Pillsbury Winthrop Shaw Pittman      7103 South Revere Parkway                c/o Pillsbury Winthrop Shaw Pittman
                                                                          LLP                                  Centennial, co 80112-3936                LLP
                                                                    23    4 Embarcadero Center, 22nd Pl.                                                Four Embarcadero ctr. 22nd Pl.
                                                                          San Francisco, CA 94111-5998                                                  San Francisco, CA 94111-5998
                                                                    24    Wineshipping                         iPayment, Inc.                           Ford Motor Credit Company, LLC
                                                                          50 Technology Court                  PO Box 3429                              P.O. Box 62180
                                                                    25    Napa, CA 94558-7519                  Westlake Village, CA 91359-0429          Colorado Springs, CO 80962

                                                                    26

                                                                    27

                                                                    28


                                                                     Case: 17-10065 82168/001
                                                                        DOCS_SF:102445.1 Doc# 504           Filed: 12/20/19     Entered:
                                                                                                                                 6       12/20/19 14:08:52             Page 6 of 6
